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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 IN RE: METHYL TERTIARY BUTYL ETHER
 (“MTBE”) PRODUCTS LIABILITY LITIGATION

                                                            Master File No. 1:00-1898
 This document relates to:
                                                            MDL 1358

 Commonwealth of Pennsylvania, etc. v. Exxon Mobil          Hon. Vernon S. Broderick
 Corporation, et al,                                        Hon. Debra C. Freeman

 Case No. 1:14-cv-06228


             PETITION TO CONFIRM ATTORNEYS’ FEE AND EXPENSES

       1.      To prosecute its claims for MTBE damage and cost recovery, Plaintiff

Commonwealth of Pennsylvania in 2010 retained three outside law firms — Cohen, Placitella &

Roth, P.C.; Berger Montague, P.C.; and Miller & Axline, P.C. (the “Firms”) — as special

counsel under the supervision of the Office of the Attorney General of Pennsylvania (“OAG”).

The Firms are counsel of record for the Commonwealth in this case and have been vigorously

prosecuting the matter since its filing in 2014.

       2.      On behalf of the Commonwealth, the Firms have achieved to date settlements in

this case totaling $1,525,000 with three defendants: Duke Energy Merchants, LLC (“Duke”);

Vitol S.A., Inc. (“Vitol”); and Western Refining Yorktown, Inc. (“Yorktown”).

       3.      These settlements did not require court approval under any law or rule of court.

The monies from these settlements have been received and are ready for distribution to the

Commonwealth and the Firms in the manner provided in the Legal Services Agreement between

the parties dated December 17, 2019 (“Agreement”).
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       4.      The Agreement provides the Firms are to be compensated for their services per a

set percentage schedule and reimbursed for their advanced expenses contingent upon securing

recoveries by way of settlement or judgment in the case.

       5.      Pursuant to the Agreement, the Firms are entitled to compensation in the amount

of $274,500 and reimbursement of expenses in the amount $488,000, with respect to these

$1,525,000 in settlements.

       6.      The Commonwealth, through the OAG, has reviewed the proposed fee and

reimbursable expenses for reasonableness, accuracy and lodestar totals, and accepts them as

properly due under the Agreement.

       7.      The Agreement provides that, prior to payment, the Firms will petition this Court

to review any proposed fees and reimbursable expenses with respect to any recoveries “to ensure

they conform to Pennsylvania Rule of Professional Conduct 1.5 (a) and (c).” In order not to

unduly burden the Court with this request, the Agreement provides that, if the Court declines to

rule or has not ruled on the petition within 90 days of submission, the petition will be withdrawn

and the Commonwealth will pay the Firms the requested fee and expenses.

       8.      The Firms request, and the Commonwealth supports, confirmation by this Court

that the proposed fee and expense reimbursements conform to Pennsylvania Rules of

Professional Conduct 1.5 (a) and (c).

       9.      As demonstrated below, the requested distributions fully conform to Pennsylvania

Rules of Professional Conduct 1.5(a) and (c).

      I.     THE PROPOSED FEE AND REIMBURSABLE EXPENSES
             CONFORM TO PA RPC 1.5 (a)

       10.     RPC 1.5(a) provides “A lawyer shall not enter into an agreement for, charge, or

collect an illegal or clearly excessive fee.”


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       11.     The Firms’ fee due here under the Agreement is clearly not illegal or excessive.

Rule 1.5 lays out a number of factors to be considered in determining the propriety of a fee:

       •       RPC 1.5(a)(1): “whether the fee is fixed or contingent”

       12.     The initial factor to be considered in determining conformance to these Rules is

“whether the fee is fixed or contingent[.]”

       13.     This is a purely contingent fee case where the Firms have assumed the great risk

of receiving no fee or expense reimbursement should there be no recoveries.

       14.     Pennsylvania courts generally uphold contingency fee agreements voluntarily

entered into by the parties so long as they are not excessive and do not take “inequitable

advantage of the payer.” Richette v. Solomon, 187 A.2d 910, 919 (Pa. 1963).

       15.     The Agreement was voluntarily entered into by parties of equal competency after

extensive arms-length negotiations.

       •       RPC 1.5(a)(2): “the time and labor required, the novelty and difficulty of the
               questions involved, and the skill requisite to perform the legal service
               properly”

       16.     The second factor to be considered in this review is “the time and labor required,

the novelty and difficulty of the questions involved, and the skill requisite to perform the legal

service properly[.]”

       17.     This multi-layered factor is easily fulfilled here, as significant time, labor and skill

have been required in the performance of the legal services in this litigation to date and which

have contributed to these first three settlements. This case, like all MTBE litigation by states,

also involves novel and difficult questions of law and fact requiring the services of highly skilled

counsel like the Firms.

       18.     During their 10 years as counsel for the Commonwealth in this matter, the Firms

have devoted more than 44,000 hours to engaging in complex, intensely contested, broad in
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scope, expensive, and time-consuming litigation, requiring extensive investigation, document

and file reviews, pleadings, motion practice and discovery.

       19.     The Firms identified nearly 6,000 MTBE release sites in Pennsylvania through a

massive one-year review of hard copy case files and electronic data from various

Commonwealth agencies.

       20.     More than 16 million pages of Commonwealth documents, many of them hard

copy which required scanning, have been gathered by the Firms and produced to the defendants,

with additional and equally massive quantities of electronic data and databases. Overall, more

than 40 million pages of electronic documents have been collected and managed in the case to

date. The Firms have incurred extensive charges to successfully host, process and search this

electronic data.

       21.     The complex nature and structure of the Commonwealth government has required

complicated and lengthy discovery into the practices and records of DEP’s regional and central

offices. More than 100 depositions have been taken in numerous locales throughout the

Commonwealth, as well as in states outside of Pennsylvania.

       22.         Special skills on the part of the Firms have been required to properly perform the

legal services in this matter. Environmental litigation is a specialized area of law, and natural

resource damage litigation, even more specialized. The particularized knowledge and experience

of the Firms who have been litigating the case and their litigation skills were important factors in

the settlements reached.

       23.     In addition to their particularized legal knowledge, the Firms have had to work

with complex scientific and economic issues including hydrogeology, statistics, toxicology,




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engineering, and resource economics. The volume of documents and data required superior skill

sets in administering data, document analysis and technology assisted review techniques.

       24.     The quantity and quality of defense counsel in this matter also required special

skill and attention of the Firms. Defending the 52 defendants in this case are 28 law firms,

including many of the top defense firms in the United States.

       25.     The good work of the Firms was an important factor in the favorable settlements

with Defendants Duke, Vitol, and Yorktown, as well as generating current interest from other

defendants in settlement.

       •       RPC 1.5(a)(3): “the likelihood, if apparent to the client, that the acceptance
               of the particular employment will preclude other employment by the lawyer”

       26.     The next factor be considered is “the likelihood, if apparent to the client, that the

acceptance of the particular employment will preclude other employment by the lawyer[.]” The

Commonwealth has been fully aware since the inception of the representation that a considerable

amount of the Firms’ available time would be spent on this case. Indeed, at this point, more than

44,000 hours ha been spent collectively by the Firms in the representation of the Commonwealth.

While this has not precluded all other legal work by the Firms, this matter obviously has

consumed a substantial amount of time for the individual attorneys involved, thereby

substantially precluding or limiting their work on other matters.

       •       RPC 1.5(a)(4): “the fee customarily charged in the locality for similar legal
               services”

       27.     The fourth factor to consider is “the fee customarily charged in the locality for

similar legal services[.]” Under the Agreement, the Firms are to receive an 18% contingent fee

on the first $300 million recovered in the case. This is considerably less than the 33 1/3 % and

greater fees customarily charged in Pennsylvania for plaintiffs’ contingent representation. In

addition, the Agreement provides that in no circumstance shall the Firms’ payments (including
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expenses) be more than 50% of the amount of any Recovery. In entering into the Agreement

after protracted arms-length negotiations, the Commonwealth recognized and recited in the

Agreement that the fee schedule (and the categories of reimbursable expenses) set forth therein

are “reasonable.”

        •       RPC 1.5(a)(5): the amount involved and the results obtained

        28.     The next factor is “the amount involved and the results obtained.” The gross

recoveries from the Duke, Vitol, and Yorktown settlements are $1,175,000, $250,000, and

$100,000, for a total of $1,525,000. These settlements — the first in this litigation — are from

relatively minor defendants and represent the relative culpability of these defendants in creating

the injuries to the Commonwealth that led to this litigation. These results are clearly excellent

first settlements.

        •       RPC 1.5(a)(6): “the time limitations imposed by the client or by the
                circumstances”

        29.     The sixth factor is the “time limitations imposed by the client or by the

circumstances.” In beginning the representation of the client in this matter, the Firms embarked

on a multi-year investment of time and resources with an expected return only far down the road.

The Firms have devoted significant resources to successfully comply with the Court-imposed

time limitations for discovery and motions.

        •       RPC 1.5(a)(7): “the nature and length of the professional relationship with
                the client”

        30.     The seventh factor — “the nature and length of the professional relationship with

the client — is also easily satisfied as the initial agreement for legal services in this case was

entered into between the Commonwealth and the Firms more than 10 years ago and the parties

have worked closely together for the duration of the case. In addition, Berger Montague, P.C.



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and Cohen Placitella & Roth, P.C. have previously represented the Commonwealth in other

complex litigation matters

        •      RPC 1.5(a)(8): “the experience, reputation, and ability of the lawyer or
               lawyers performing the services”

        31.    The eighth and final factor to consider in this review is “the experience,

reputation, and the ability of the lawyer or lawyers performing the services.”

        32.    Miller & Axline, P.C. is the principal pioneer in plaintiffs’ MTBE litigation. The

firm tried the first MTBE case to a jury in 2001 and has been involved in MTBE litigation for

almost two decades. The primary attorneys in this matter for the Firm are Duane Miller and

Michael Axline, who together have over 60 years of experience in environmental and toxic torts

litigation.

        33.    Berger & Montague, P.C. is one of the premier plaintiffs’ litigation firms in the

United States. The primary attorneys in this matter, Daniel Berger and Tyler E. Wren, are

experienced environmental litigators with more than 90 years combined legal experience.

        34.    Cohen, Placitella & Roth, P.C. is a leader in complex, aggregate plaintiffs’

litigation in all its forms, including environmental, toxic tort and class action cases. The primary

firm attorneys responsible for this litigation — Stewart L. Cohen, Michael Coren, and Robert L.

Pratter — have together nearly a century of complex litigation experience, including many years

representing this Commonwealth in high stakes environmental and mass tort matters.

        35.    The expenses which the Firms have incurred in this case and to which they are

entitled to reimbursement under the Agreement total $8,486,402.65 as of December 31, 2019.

These expenses, which were categorized and presented in detail to the client for its review and

approval, are the kind of costs that are necessarily incurred in today’s complex litigation setting,

including significant charges for the electronic document hosting and management of the more


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than 40 million electronic documents and other data which have been collected in this case. The

$488,000 expense reimbursement at issue here is but a tiny portion of these expenses which the

Firms have incurred to date. This small payment is obviously fair and appropriate here.

    II.      THE PROPOSED FEE AND ASSOCIATED EXPENSES CONFORM
             TO PA RPC 1.5 (c)

       36.     The proposed fee and the associated expenses comply with RPC 1.5 (c). That

Rule allows contingent agreements “except where a contingent fee is prohibited by paragraph (d)

or other law.” In pertinent part, Paragraph 1.5(d) prohibits such arrangements only where the

agreed fee “is clearly excessive for all legal services they rendered the client.” As demonstrated

above, the fee requested here of $274,500 is clearly not excessive. The Firms have spent more

than 44,000 hours and $8,486,000 in advanced expenses in securing to date $1,525,000 in

settlements from which they seek a fee of merely $278,000.

   III.      CONCLUSION

       37.     For all these reasons, the fee and reimbursable expenses requested here fully

comply with Pennsylvania Rule of Conduct 1.5.

       ACCORDINGLY, the Firms respectfully request, and the Commonwealth supports, that

the Court enter the attached Order confirming that the proposed fee and expense reimbursements

set forth herein conform to Pennsylvania Rules of Professional Conduct 1.5(a) and (c) with

respect to the current recoveries of $1,525,000 in this case.

       [Signatures follow on the next page]

DATED: May 19, 2020




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    Respectfully submitted:

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                 EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE: METHYL TERTIARY BUTYL ETHER
 (“MTBE”) PRODUCTS LIABILITY LITIGATION

                                                           Master File No. 1:00-1898
 This document relates to:
                                                           MDL 1358

 Commonwealth of Pennsylvania, etc. v. Exxon Mobil         Hon. Vernon S. Broderick
 Corporation, et al,                                       Hon. Debra C. Freeman

 Case No. 1:14-cv-06228

       ORDER GRANTING PETITION TO CONFIRM ATTORNEYS’ FEE AND
                             EXPENSES

       The Petition to Confirm Attorneys’ Fee and Expenses (“Petition”) is granted and this

Court confirms that the fee and expense reimbursements set forth in the Petition conform to

Pennsylvania Rules of Professional Conduct 1.5(a) and (c) with respect to the current recoveries

of $1,525,000 from settlements in this case with Defendants Duke Energy Merchants, LLC,

Vitol S.A., Inc., and Western Refining Yorktown, Inc.

       IT IS SO ORDERED:

       ________________________________
       HON. VERNON S. BRODERICK
       UNITED STATES DISTRICT JUDGE

       DATED:
OR
       IT IS SO ORDERED:

       ______________________________
       HON. DEBRA FREEMAN
       UNITED STATES MAGISTRATE JUDGE

       DATED: ____________
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 1                       PROOF OF SERVICE VIA FILE & SERVEXPRESS
 2   Commonwealth of Pennsylvania v. Exxon Mobil Corporation, et al.,
     United States District Court, Southern District of New York Case No. 14-cv-06228 (VSB)
 3
             I, the undersigned, declare that I am, and was at the time of service of the paper(s) herein
 4   referred to, over the age of 18 years and not a party to this action. My business address is 1050
     Fulton Avenue, Suite 100, Sacramento, CA 95825-4225.
 5
             On the date below, I served the following document on all counsel in this action
 6   electronically through File & ServeXpress:
 7
 8
                   PETITION TO CONFIRM ATTORNEYS’ FEE AND EXPENSES
 9

10
             I declare under penalty of perjury under the laws of the United States of America and the
11   State of California that the foregoing is true and correct.
12
            Executed on May 19, 2020, at Sacramento, California.
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14                                         /s/ Kathy Herron
                                           KATHY HERRON
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